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                                            5   Attorneys for Defendant
                                                ALEKSANDR KUZMENKO
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                                            8                                 IN THE UNITED STATES DISTRICT COURT

                                            9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10

                                           11   UNITED STATES OF AMERICA,                            Case No. 2:14-CR-00044-GEB

                                           12                    Plaintiff,
                                                                                                     STIPULATION AND [PROPOSED]
               S ACRAMENTO , C ALIFORNIA




                                           13            v.                                          ORDER
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   ALEKSANDR KUZMENKO,

                                           15                    Defendant.

                                           16

                                           17            The parties to this litigation, the United States of America, represented by Assistant

                                           18   United States Attorney, Michele M. Beckwith, and defendant Aleksandr Kuzmenko, represented

                                           19   by Kresta N. Daly, hereby agree and stipulate to the following:

                                           20            1. By previous order, this matter was set for sentencing on June 24, 2016.

                                           21            2. By this Stipulation, the parties move to continue the sentencing until September 23,

                                           22   2016.

                                           23            3. The parties agree and stipulate to the following and request the Court find the

                                           24   following:

                                           25            a. The draft PSR shall be disclosed to counsel no later than August 12, 2016;

                                           26            b. Counsel’s written objections to the PSR shall be delivered to the Probation Officer and

                                           27   Opposing Counsel no later than August 26, 2016;

                                           28            c. The PSR shall be filed with the court and disclosed to counsel no later than September
                                                {00018868}
                                                                                             -1-
                                                STIPULATION AND ORDER                                                             [Case No. 2:14-CR-00044-GEB]
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                                            1   2, 2016;

                                            2          d. The Motion for Correction of the PSR shall be filed with the court and served on the

                                            3   Probation Officer and Opposing Counsel no later than September 9, 2016;

                                            4          e. Any replies or statements of non-opposition are due no later than September 16, 2016.

                                            5          IT IS SO STIPULATED.

                                            6   Respectfully submitted:
                                                                                    BENJAMIN B. WAGNER
                                            7                                       UNITED STATES ATTORNEY
                                            8
                                                Dated: May 11, 2016                        /s/ Michele M. Beckwith
                                            9                                              MICHELE M. BECKWITH
                                                                                    Assistant United States Attorney, Attorney For The Plaintiff
                                           10
                                                Dated: May 11, 2016                 BARTH DALY LLP
                                           11
                                                                                    By     /s/Kresta Nora Daly
                                           12                                              KRESTA NORA DALY
                                                                                    Attorneys for Defendant Aleksandr Kuzmenko
               S ACRAMENTO , C ALIFORNIA




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B ARTH D ALY LLP
                   A TTORNEYS A T L AW




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                                                                                           ORDER
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                                                   IT IS SO ORDERED.
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                                                Dated: May 12, 2016
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                                                 STIPULATION AND ORDER                                                      [Case No. 2:14-cr-00044-GEB]
